









Affirmed and Memorandum Opinion filed August 19, 2004









Affirmed and Memorandum Opinion filed August 19, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00051-CR

____________

&nbsp;

GORDON
SANDERS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
212th District Court

Galveston
County, Texas

Trial Court Cause No.
02CR0279

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On July 31, 2002, Appellant entered a guilty plea to
possession of a controlled substance weighing more than one gram but less than
four grams.&nbsp; He was placed on five years= deferred adjudication
probation.&nbsp;&nbsp; The trial court revoked his
deferred adjudication probation and, on May 27, 2003, the trial court sentenced
appellant to confinement for five years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp;
Appellant filed a written notice of appeal.&nbsp; 








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit as to any issue Aunrelated@ to appellant=s conviction.&nbsp; See Vidaurri v. State, 49 S.W.3d 880,
885 (Tex.
Crim. App. 2001).&nbsp; Counsel also notes that this court has no
jurisdiction over an appeal from a trial court=s decision to adjudicate guilt.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), presenting a
professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and no motion to review the record or pro
se response has been filed.

We agree the appeal of issues unrelated to conviction is
wholly frivolous and without merit.&nbsp;
Additionally, we do not have jurisdiction to hear an appeal related to
the conviction.&nbsp;&nbsp; Vidaurri, 49
S.W.3d at 884.&nbsp; Further, we find no
reversible error in the record.&nbsp; A
discussion of the brief would add nothing to the jurisprudence of the State.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed August 19, 2004.

Panel consists of Justices Yates,
Edelman, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).





